Case 3:22-cv-01213-TAD-KDM Document 349-1 Filed 04/25/24 Page 1 of 28 PageID #:
                                  28940



                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF LOUISIANA
                            MONROE DIVISION




 ROBERT F. KENNEDY, JR. ET AL.,          CASE NO. 23-cv-0381 (CONSOLIDATED)
                                         CIVIL ACTION NO. 22-cv-01213 (LEAD)
 v.
                                         JUDGE: TERRY A. DOUGHTY
 JOSEPH R. BIDEN, ET AL.,                MAG. JUDGE: KAYLA D. McCLUSKY




 ******************************************************************************
                        MEMORANDUM IN SUPPORT OF
                    THIRD-PARTY PLATFORM DISCOVERY
 ******************************************************************************
Case 3:22-cv-01213-TAD-KDM Document 349-1 Filed 04/25/24 Page 2 of 28 PageID #:
                                  28941



                                                    TABLE OF CONTENTS

                                                                                                                                    Page #

 TABLE OF AUTHORITIES ...........................................................................................................3

 OVERVIEW ....................................................................................................................................7

 PROCEDURAL AND DISCOVERY HISTORY ...........................................................................9

           A.         Missouri v. Biden .................................................................................................... 9

           B.         Kennedy v. Biden .................................................................................................. 10

           C.         Platform Discovery Has Largely Not Yet Taken Place ........................................ 11

 ARGUMENT .................................................................................................................................14

           A.         Legal Standards Applicable to this Motion .......................................................... 14

                      1. Breadth and Burden .......................................................................................... 15

                      2. Purpose of Requested Discovery ...................................................................... 16

                      3. Discovery Will Remain Critical No Matter How the Court Rules in Murthy .. 22

 CONCLUSION ..............................................................................................................................25

 CERTIFICATE OF COMPLIANCE .............................................................................................27

 CERTIFICATE OF SERVICE ......................................................................................................28




                                                                       2
Case 3:22-cv-01213-TAD-KDM Document 349-1 Filed 04/25/24 Page 3 of 28 PageID #:
                                  28942



                                                 TABLE OF AUTHORITIES

 Federal Cases

 Combat Zone Corp. v. John/Jane Does 1-2,
   Civ. No. 2:12-CV-00509, 2012 U.S. Dist. LEXIS 180841 (E.D. Tex. Dec. 21, 2012) ...........14

 Kennedy v. Biden,
    No. 3:23-CV-00381, 2024 U.S. Dist. LEXIS 26751 (W.D. La. Feb. 14, 2024)
    ..........................................................................................................................10, 11, 19, 21, 24

 Missouri v. Biden,
    83 F.4th 350 (5th Cir. 2023) ....................................................................................8, 11, 19, 21

 Missouri v. Biden,
    No. 3:22-CV-01213, 2022 U.S. Dist. LEXIS 131135 (W.D. La. July 12, 2022) ..........9, 11, 14

 Missouri v. Biden,
    No. 3:22-CV-01213, 2022 U.S. Dist. LEXIS 235143 (W.D. La. Oct. 21, 2022) ......................9

 Missouri v. Biden,
    No. 3:22-CV-01213, 2023 U.S. Dist. LEXIS 114585 (W.D. La. July 4, 2023) ..................9, 21

 Missouri v. Biden,
    No. 3:22-CV-01213, 2023 U.S. Dist. LEXIS 127620 (W.D. La. July 24, 2023) ..............10, 25

 Murthy v. Missouri,
   144 S. Ct. 32 (2023) ...................................................................................................................8

 Murthy v. Missouri,
   144 S. Ct. 7 (2023) .................................................................................................................8, 9

 Netflix, Inc v. Babin,
    88 F.4th 1080 (5th Cir. 2023) ..................................................................................................17

 Pod-Ners, LLC v. N. Feed & Bean,
    204 F.R.D. 675 (D. Colo. 2002) ................................................................................................8

 Satanic Temple, Inc. v. Tex. Health & Hum. Serv. Comm’n,
    79 F.4th 512 (5th Cir. 2023) ................................................................................................9, 24

 Soileau v. GPS Marine, LLC,
     No. 20-484, 2020 U.S. Dist. LEXIS 87581 (E.D. La. May 18, 2020) .....................................14

 Strike 3 Holdings, LLC v. Doe,
     No. 4:21-CV-243-SDJ, 2021 U.S. Dist. LEXIS 232195 (E.D. Tex. Dec. 3, 2021).................14




                                                                       3
Case 3:22-cv-01213-TAD-KDM Document 349-1 Filed 04/25/24 Page 4 of 28 PageID #:
                                  28943



 United States v. Curtis,
    635 F.3d 704 (5th Cir. 2011) ...................................................................................................20

 United States Constitution

 First Amendment .......................................................................................................7, 9, 10, 23, 24

 Federal Rules of Civil Procedure

      Rule 19 .....................................................................................................................................22
      Rule 20 .....................................................................................................................................22
      Rule 26(d) ............................................................................................................................7, 14
      Rule 26(d)(1) ............................................................................................................................14
      Rule 26(f) .................................................................................................................................14
      Rule 42 .....................................................................................................................................10
      Rule 45 .......................................................................................................................................7

 Practice Guides

 8A CHARLES ALAN WRIGHT & ARTHUR R. MILLER, FEDERAL PRACTICE AND
    PROCEDURE § 2046.1 (3d ed. 2011) .........................................................................................14

 Online Sources

 A partnership against global health threats, GLOBAL HEALTH SECURITY AGENDA,
    https://ghsagenda.org/ ..............................................................................................................16

 AXIOS on HBO: Mark Zuckerberg on Misinformation [Video], HBO,
    https://www.youtube.com/watch?v=E5yyInwI7tw (last visited Nov. 12, 2020).....................21

 David Uberti, “EU-U.S. Data Privacy Talks Enter Second Year With No Timeline
    for Resolution,” The Wall Street Journal, July 21, 2021, available at
    https://www.wsj.com/articles/eu-u-s-data-privacy-talks-enter-second-year-
    with-no-timeline-for-resolution-11626859800 ........................................................................17

 Executive Order 13747 of November 4, 2016, Advancing the Global Health
    Security Agenda To Achieve a world Safe and Secure From Infectious
    Disease Threats, Presidential Documents, FEDERAL REGISTER, Vol. 81, No.
    217, https://www.govinfo.gov/content/pkg/FR-2016-11-09/pdf/2016-
    27171.pdf .................................................................................................................................16

 FACT SHEET: President Biden Signs Executive Order to Implement the
   European Union-U.S. Data Privacy Framework, THE WHITE HOUSE (Oct. 7,
   2022), https://www.whitehouse.gov/briefing-room/statements-
   releases/2022/10/07/fact-sheet-president-biden-signs-executive-order-to-
   implement-the-european-union-u-s-data-privacy-framework/; ...............................................17




                                                                          4
Case 3:22-cv-01213-TAD-KDM Document 349-1 Filed 04/25/24 Page 5 of 28 PageID #:
                                  28944



 FACT SHEET: United States and European Commission Announce Trans-
   Atlantic Data Privacy Framework, THE WHITE HOUSE (Mar. 25, 2022),
   https://www.whitehouse.gov/briefing-room/statements-
   releases/2022/03/25/fact-sheet-united-states-and-european-commission-
   announce-trans-atlantic-data-privacy-framework/ ...................................................................17

 Gabriela Pariseau and Michael Morris, “Google Revs Up Election Interference
    Gambit Before GOP Primary Debate, Buries Republicans” Media Research
    Center Free Speech America, Aug. 24, 2023, available at:
    https://www.newsbusters.org/blogs/free-speech/gabriela-
    pariseau/2023/08/24/google-revs-election-interference-gambit-gop-primary .........................23

 House of Representatives Judiciary Committee, Chairman Jim Jordan Subpoenas
    Big Tech Executives, Feb. 15, 2023, https://judiciary.house.gov/media/press-
    releases/chairman-jim-jordan-subpoenas-big-tech-executives ................................................15

 Infectious Disease Initiative, CHAN ZUCKERBERG BIOHUB,
     https://www.czbiohub.org/projects/ infectious-disease/ (last visited Aug. 15,
     2020) ........................................................................................................................................21

 Letter dated Feb. 15, 2023 from Rep. Jordan to CEO Mark Zuckerberg transmitting
     subpoena, available at: https://judiciary.house.gov/sites/evo-subsites/republicans-
     judiciary.house.gov/files/evo-media-document/2023-02-15-jdj-to-zuckerberg-
     meta.pdf?_gl=1*1rd0niq*_ga*NzAwMjA5MTE1LjE3MTM5MDAxMzI.*_ga_1818
     ZEQW81*MTcxMzkwMDEzMi4xLjAuMTcxMzkwMDEzMi4wLjAuMA .........................12

 Netchoice amicus brief in Murthy, 23-411 filed Dec. 21, 2023, available at:
    https://www.supremecourt.gov/DocketPDF/23/23-
    411/293958/20231221095300230_231219a%20AC%20Brief%20for%20efiling.pdf ...........22

 Rep. Jim Jordan (@Jim_Jordan), TWITTER (Aug. 3, 2023, 11:00 AM),
    https://tinyurl.com/4kjvehbb (“The Facebook Files Part 3”)...................................................13

 Rep. Jim Jordan (@Jim_Jordan), TWITTER (Aug. 7, 2023, 10:11 AM),
    https://tinyurl.com/yebawzjr (“The Facebook Files Part 4”) ...................................................13

 Rep. Jim Jordan (@Jim_Jordan), TWITTER (Dec. 1, 2023, 11:26 AM),
    https://twitter.com/Jim_Jordan/status/1730669728002142706 (“The Youtube
    Files Part 2) ..............................................................................................................................13

 Rep. Jim Jordan (@Jim_Jordan), TWITTER (July 28, 2023, 12:03 PM),
    https://tinyurl.com/3z5npf92 (“The Facebook Files Part 2”) ..................................................13

 Rep. Jim Jordan (@Jim_Jordan), TWITTER (Nov. 30, 2023, 5:44 AM),
    https://twitter.com/Jim_Jordan/status/1730221179632226337 (“The Youtube
    Files Part 1) ..............................................................................................................................13




                                                                          5
Case 3:22-cv-01213-TAD-KDM Document 349-1 Filed 04/25/24 Page 6 of 28 PageID #:
                                  28945



 Rep. Jim Jordan (@Jim_Jordan, TWITTER (July 27, 2023, 12:03 PM),
    https://tinyurl.com/5nz8sn3b (“The Facebook Files Part 1”) ..................................................13

 Robert F. Kennedy, Jr. Testimony Before House Select Subcommittee on the
    Weaponization of the Federal Government, July 20, 2023,
    https://www.congress.gov/118/meeting/house/116258/witnesses/HHRG-118-
    FD00-Wstate-KennedyR- 20230720.pdf .................................................................................23

 Sam Shechner, et al.,“U.S. Rewrites Digital Privacy Rules for Europeans to Keep
    Data Flowing,” The Wall Street Journal, Oct. 7, 2022, available at
    https://www.wsj.com/articles/u-s-rewrites-digital-privacy-rules-for-europeans-
    to-keep-data-flowing-11665151210 (last accessed April 18, 2024) ........................................18

 The Chan Zuckerberg Biohub: Seeking to Cure All Diseases, BIOLEGEND BLOG,
    https://www.biolegend.com/ja-jp/blog/the-chan-zuckerberg-biohub-seeking-
    to-cure-all-diseases (last visited Aug. 15, 2020)......................................................................21




                                                              6
Case 3:22-cv-01213-TAD-KDM Document 349-1 Filed 04/25/24 Page 7 of 28 PageID #:
                                  28946



                                               OVERVIEW

           This is the Kennedy Plaintiffs’ 1 (the “Plaintiffs”) first discovery request, and it is both

     narrow and pivotal. Plaintiffs do not here ask for further discovery from these Federal

     Government Defendants. Rather, Plaintiffs seek discovery under Fed. R. Civ. P. 26(d) and 45

     solely from the two preeminent social media companies – Alphabet, Inc., which owns Google

     and YouTube; and Meta Platforms, Inc. which owns Facebook and Instagram (collectively, the

     “Platforms”) – with whom the Government communicated in its effort to suppress speech, and

     Plaintiffs seek only documents – not depositions – related to those communications. 2 Such

     discovery has not yet taken place in this case and is not available from any other source. Nor

     will it be overly burdensome for the Platforms to respond to this discovery request, because the

     request primarily seeks documents already collected by the Platforms in response to a

     congressional subpoena.

           Most important, as explained below, the documents sought are critical to this case and

     will remain critical no matter how the Supreme Court rules in the recently-argued Murthy v.

     Missouri, No. 23-411 (captioned Missouri v. Biden in the District Court and Fifth Circuit). For

     example, the requested discovery is critical to show that there was an actual “meeting of the

     minds” between the Defendants and the Platforms to knowingly violate Plaintiffs’ (and their

     putative class members’) First Amendment rights such that a finding of conspiracy-based state

 1
   The “Kennedy Plaintiffs” are Robert F. Kennedy, Jr., an independent candidate for President,
 Children’s Health Defense (“CHD”), a national non-profit organization, and Connie
 Sampognaro, a Louisiana citizen, suing on behalf of themselves and others similarly situated.
 2
   The proposed subpoena attachment, attached hereto as Exhibit A, seeks the Platforms’ internal
 emails, texts, and meeting notes, as well as their external emails, texts, and meeting notes with
 the Defendants related to content moderation – tracking the terms of the already-complied-with
 congressional subpoenas. On information and belief, the Federal Defendants did not memorialize
 what was said, or by whom, at their meetings with the Platforms, only the dates on which they
 occurred, and at times the agenda or presentations made. (Declaration of G. Shelly Maturin,
 dated Apr. 24, 2024 (“Maturin Dec.”), at ¶ 3.)


                                                      7
Case 3:22-cv-01213-TAD-KDM Document 349-1 Filed 04/25/24 Page 8 of 28 PageID #:
                                  28947



     action liability is compelled in this case. Cf. Missouri v. Biden, 83 F.4th 350, 392 n.20 (5th Cir.

     2023) (withholding judgment on that issue on a less-than-fully-developed record). Plaintiffs, of

     course, bear the burden of proof on that issue and have no alternative means other than this

     discovery to meet it. 3

            Moreover, the requested discovery is also critical to prove what this Court has already

     found likely – that Defendants coerced and substantially encouraged the Platforms to censor

     speech – and such proof will remain central to this case regardless of whether the Supreme

     Court in Murthy affirms, does not reach, or reverses this Court’s (and the Fifth Circuit’s)

     findings on these points.

             While Kennedy v. Biden and Missouri v. Biden were consolidated in this Court for

     discovery and trial, the Kennedy Plaintiffs were not permitted to intervene in the Murthy appeal.

     See Murthy v. Missouri, 144 S. Ct. 32 (2023) (Alito, J., dissenting). Thus, Kennedy v. Biden

     remains firmly within this Court’s jurisdiction for discovery purposes and all other purposes.

     Rather than delaying for several more months or perhaps much longer waiting for Murthy to

     come to its appellate conclusion, Plaintiffs seek minimally-intrusive discovery from the

     Platforms that will allow this case to move forward expeditiously when the stay in Murthy

     terminates “upon the sending down of the judgment” of the Supreme Court. Murthy v. Missouri,

     144 S. Ct. 7 (2023). This Court’s authorization to proceed with narrowly-tailored discovery at

     this time will thus avoid months of potential delay in the future, and will also allow Murthy

     itself to move forward more expeditiously should it return to this Court.




 3
   On information and belief, no formal litigation hold or retention policy requires the Platforms
 to preserve the records sought. (Maturin Dec. at ¶ 4.) For this reason alone, this motion should be
 granted. See, e.g., Pod-Ners, LLC v. N. Feed & Bean, 204 F.R.D. 675, 676 (D. Colo. 2002)
 (allowing discovery where its object might not be available for later inspection).


                                                      8
Case 3:22-cv-01213-TAD-KDM Document 349-1 Filed 04/25/24 Page 9 of 28 PageID #:
                                  28948



           On April 12, 2024, Defendants filed a notice of appeal of this Court’s February 14, 2024

  preliminary injunction order. (23-cv-00381, Doc No. 39.) Nonetheless, this Court retains

  jurisdiction to move forward with the case on other fronts while that appeal is pending. See,

  e.g., Satanic Temple, Inc. v. Tex. Health & Hum. Serv. Comm’n, 79 F.4th 512, 514 (5th Cir.

  2023).

                          PROCEDURAL AND DISCOVERY HISTORY

           A. Missouri v. Biden

           On May 5, 2022, the Missouri Plaintiffs filed their complaint, alleging that Defendants

 “colluded with and/or coerced social media companies to suppress disfavored speakers,

 viewpoints, and content on social media platforms” in violation of the First Amendment. See

 Missouri v. Biden, No. 3:22-CV-01213, 2022 U.S. Dist. LEXIS 131135, at *2 (W.D. La. July 12,

 2022). In June 2022, the Missouri Plaintiffs moved for a preliminary injunction and for expedited

 preliminary injunction-related discovery. (Doc. Nos. 10, 17-18.) On July 12, 2022, the Court

 issued an order largely granting the discovery request, and on October 21, 2022 authorized

 depositions in connection therewith. See Missouri v. Biden, No. 3:22-CV-01213, 2022 U.S. Dist.

 LEXIS 235143, at *41 (W.D. La. Oct. 21, 2022). On July 4, 2023, this Court granted a

 preliminary injunction. See Missouri v. Biden, No. 3:22-CV-01213, 2023 U.S. Dist. LEXIS

 114585 (W.D. La. July 4, 2023).

           On October 20, 2023, the U.S. Supreme Court stayed the July 4, 2023 preliminary

 injunction in Missouri, as modified by the Fifth Circuit, and thereafter granted certiorari. See

 Murthy v. Missouri, 144 S. Ct. 7 (2023). On March 18, 2024, the Court heard oral argument and

 the matter is sub judice.




                                                   9
Case 3:22-cv-01213-TAD-KDM Document 349-1 Filed 04/25/24 Page 10 of 28 PageID #:
                                  28949



        B. Kennedy v. Biden

        On March 24, 2023, the Kennedy Plaintiffs filed the instant putative class action against

 the same Defendants for declaratory and injunctive relief for violation of their First Amendment

 rights. (23-cv-00381, Doc. No. 1.) On April 1, 2023, the Kennedy Plaintiffs moved to

 consolidate their case with Missouri v. Biden for discovery and trial under Rule 42. (22-cv-

 01213, Doc No. 236.) On April 12, 2023, the Kennedy Plaintiffs filed their own motion for

 preliminary injunction (23-cv-00381, Doc No. 6), 4 which was fully briefed on July 4, 2023 (Doc.

 Nos. 17, 20), and supplemented on December 21, 2023 (Doc Nos. 29, 30).

        On July 24, 2023, this Court ordered consolidation of Missouri v. Biden and Kennedy v.

 Biden “for all purposes,” including joint discovery, depositions, and trial. See Missouri v. Biden,

 No. 3:22-CV-01213, 2023 U.S. Dist. LEXIS 127620, at *8 (W.D. La. July 24, 2023).

        The Court stated:

        Should the granting of the preliminary injunction survive the appeal, this Court
        anticipates the Plaintiffs will ask the Court to authorize additional discovery. If
        additional discovery were allowed, consolidation would allow the discovery to be
        conducted together.

 Id. at *6. On February 14, 2024, the Court granted the Kennedy Plaintiffs’ injunctive relief, but

 stayed that injunction until the Supreme Court decides Murthy. See Kennedy v. Biden, No. 3:23-

 CV-00381, 2024 U.S. Dist. LEXIS 26751 (W.D. La. Feb. 14, 2024)

        In its memorandum ruling, the Court found that the Kennedy Plaintiffs had standing and

 had demonstrated a likelihood of success on their claims both that Defendants had coerced the

 Platforms into censoring protected speech and had “jointly participated with social-media

 platforms to suppress protected free speech” “by ‘insinuating’ themselves into the social-media


 4
   At that time, the Kennedy Plaintiffs asked that their motion be heard with the Missouri
 Plaintiffs’ motion, and accordingly deferred their pursuit of other discovery. (23-cv-00381, Doc.
 No. 6 at 1-2.)


                                                 10
Case 3:22-cv-01213-TAD-KDM Document 349-1 Filed 04/25/24 Page 11 of 28 PageID #:
                                  28950



 companies’ private affairs and blurring the line between public and private action.” Id. at *23,

 25. However, on the present record, the Court did not find an unconstitutional conspiracy

 between the Platforms and the Defendants. Id. at *25; cf. Missouri v. Biden, 83 F.4th at 392 n.20

 (affirming findings of likely coercion and significant encouragement while passing “no judgment

 on any joint actor or conspiracy-based state action theory”). The Court observed in closing that

 “[t]he Supreme Court decision in Missouri v Biden will answer many of the issues raised in this

 case. Therefore, the stay issued in this case will be automatically lifted on the eleventh (11th) day

 after the ruling in Missouri v. Biden is handed down by the Supreme Court.” Id. at *31.

 Defendants have appealed that order. (23-cv-00381, Doc. 39.)

        C. Platform Discovery Has Largely Not Yet Taken Place

        In its July 12, 2022 Order, this Court authorized the Missouri Plaintiffs to conduct limited

 third-party discovery of “up to five major social media platforms” to establish “the identity of

 federal officials communicating with these social media platforms, including the nature and

 content of those communications.” Missouri. v. Biden, No. 3:22-CV-01213, 2022 U.S. Dist.

 LEXIS 131135, at *16-17 (W.D. La. July 12, 2022). On July 19, 2022, the Missouri Plaintiffs

 filed a Notice of Compliance with that Order with respect to serving third-party subpoenas. (22-

 cv-01213, Doc. No. 37.) However, on information and belief, the Missouri Plaintiffs thereafter

 reached an agreement with three of those Platforms in which little or no document production,

 and no depositions would occur, but instead the Platforms would provide the Missouri Plaintiffs

 with the names of federal officials with whom they had communicated. (Maturin Dec. at ¶ 5.)

        On October 4, 2023, the Kennedy Plaintiffs made a written request to the Missouri

 Plaintiffs for a copy of all third-party platform discovery which they had obtained pursuant to the

 Court’s July 12, 2022 order. All parties agree that requiring the Kennedy Plaintiffs to duplicate




                                                  11
Case 3:22-cv-01213-TAD-KDM Document 349-1 Filed 04/25/24 Page 12 of 28 PageID #:
                                  28951



 previously-completed discovery would be wasteful, delay-producing, and inconsistent with the

 Court’s July 23, 2023 consolidation order. 5 On October 24, 2023, the Missouri Attorney

 General’s Office (“Missouri AG”) provided the Kennedy Plaintiffs with a very limited set of

 documents, nearly entirely from LinkedIn. On November 3, 2023, the Missouri AG represented

 that those were all “the documents [they] received from social-media platforms pursuant to third-

 party subpoenas in the Missouri case,” and that Facebook’s disclosure of the identity of federal

 officials was not made in the form of a document but “through multiple emails between counsel

 embedded in extensive attorney discussions.” (Maturin Dec. at ¶ 6.)

        Separately, on or about December 14, 2022, the U.S. House of Representatives

 Committee on the Judiciary subpoenaed internal documents from Alphabet, the parent entity of

 Google and YouTube, and on or about February 15, 2023 from Meta Platforms, the parent entity

 of Facebook and Instagram. (Maturin Dec. Exh. B [congressional letter-subpoena]; see also Feb.

 15, 2023 Letter from Rep. Jordan to CEO Mark Zuckerberg transmitting subpoena, available at:

 https://judiciary.house.gov/sites/evo-subsites/republicans-judiciary.house.gov/files/evo-media-

 document/2023-02-15-jdj-to-zuckerberg-

 meta.pdf?_gl=1*1rd0niq*_ga*NzAwMjA5MTE1LjE3MTM5MDAxMzI.*_ga_1818ZEQW81*

 MTcxMzkwMDEzMi4xLjAuMTcxMzkwMDEzMi4wLjAuMA.) In late July and August, 2023,

 shortly after this Court’s preliminary injunction issued in Missouri, Representative Jim Jordan

 published some of the records obtained thereby on Twitter, and additional records were included

 as an appendix to the amicus brief which the House Judiciary Committee’s majority members




 5
  In November 2023, following Plaintiffs’ agreement to be bound by the existing protective
 orders in Missouri (Doc Nos. 117, 143), the U.S. Department of Justice (“DOJ”) produced to
 Plaintiffs purportedly the same document discovery DOJ had previously produced in Missouri.
 (Maturin Dec. at ¶ 7.)


                                                12
Case 3:22-cv-01213-TAD-KDM Document 349-1 Filed 04/25/24 Page 13 of 28 PageID #:
                                  28952



 filed in the Missouri appeal. 6 Representative Jordan also made public on Twitter excerpts of

 other records obtained by congressional subpoena of Alphabet, Inc., the parent entity of Google

 and YouTube. 7 On information and belief, neither production of third-party platform records in

 response to congressional subpoena is part of this Court’s record in the Missouri or Kennedy

 cases. (Maturin Dec. at ¶ 8.)

        Thus, nothing sought herein is duplicative of any records thus far obtained by the Parties

 from the Platforms in the Missouri action. The Kennedy Plaintiffs’ requests track the search-terms

 of the congressional subpoenas, and thus pose no substantial burden on the Platforms, which have

 already produced responsive documents in connection with those congressional subpoenas. 8




 6
   See Missouri v. Biden, Case No. 23-30445 (5th Cir., filed Aug. 7, 2023), Amicus Brief of
 House Judiciary Committee Majority, Doc. No. 161, and Appendix thereto which contains
 internal and external Facebook emails, meeting notes, and transcribed interviews; see also id. at
 15 n.2 (citing Rep. Jim Jordan (@Jim_Jordan), TWITTER (July 27, 2023, 12:03 PM),
 https://tinyurl.com/5nz8sn3b (“THE FACEBOOK FILES PART 1”); Rep. Jim Jordan
 (@Jim_Jordan), TWITTER (July 28, 2023, 12:03 PM), https://tinyurl.com/3z5npf92 (“THE
 FACEBOOK FILES PART 2”); Rep. Jim Jordan (@Jim_Jordan), TWITTER (Aug. 3, 2023,
 11:00 AM), https://tinyurl.com/4kjvehbb (“THE FACEBOOK FILES PART 3”); Rep. Jim
 Jordan (@Jim_Jordan), TWITTER (Aug. 7, 2023, 10:11 AM), https://tinyurl.com/yebawzjr
 (“THE FACEBOOK FILES PART 4”).) These documents were released in redacted form such
 that most of the Meta participants in the meetings and email-threads are not identifiable.
 (Maturin Dec. at ¶ 9.)
 7
   See Rep. Jim Jordan (@Jim_Jordan), TWITTER (Nov. 30, 2023, 5:44 AM),
 https://twitter.com/Jim_Jordan/status/1730221179632226337 (“THE YOUTUBE FILES PART
 1. BIDEN WHITE HOUSE PRESSURED YOUTUBE TO CENSOR AMERICANS”); Rep. Jim
 Jordan (@Jim_Jordan), TWITTER (Dec. 1, 2023, 11:26 AM),
 https://twitter.com/Jim_Jordan/status/1730669728002142706 (“THE YOUTUBE FILES PART
 2. To appease the Biden White House, Big Tech gave into the federal government’s relentless
 pressure campaign to censor Americans’ speech, including true information. YouTube
 capitulated first; Facebook caved next.”).
 8
   A copy of the Kennedy Plaintiffs’ proposed subpoena to the Platforms is attached as Maturin
 Dec. Exh. A. It tracks the language of the House Judiciary Committee subpoenas with an
 extended date-range (January 2019 to the date of service), and in its definitions, will specify, as
 does the congressional subpoena, that that “communications” includes responsive email and text
 messages, as well as meeting notes and other forms of writing.


                                                 13
Case 3:22-cv-01213-TAD-KDM Document 349-1 Filed 04/25/24 Page 14 of 28 PageID #:
                                  28953



                                           ARGUMENT

        A. Legal Standards Applicable to this Motion

        Rule 26(d)(1) precludes “discovery from any source before the parties have conferred as

 required by Rule 26(f), except [. . .] when authorized by these rules, by stipulation, or by court

 order.” Fed. R. Civ. P. 26(d)(1) (emphasis supplied). Here, no Rule 26(f) conference has taken

 place, and none is currently contemplated by the parties (because of the pendency of the appeal

 in Murthy v. Missouri). Accordingly, the Kennedy Plaintiffs seek leave from this Court to

 conduct pre-conference discovery.

        As this Court stated in granting discovery to the Missouri Plaintiffs, courts in the Fifth

 Circuit apply a “good cause” standard when ruling on pre-conference discovery requests.

 Missouri v. Biden, No. 3:22-CV-01213, 2022 U.S. Dist. LEXIS 131135, at *12-13 (W.D. La.

 July 12, 2022). 9 The “good cause” analysis encompasses “such factors as the breadth of

 discovery requests, the purpose for requesting expedited discovery, the burden on the defendants

 to comply with the requests, and how far in advance of the typical discovery process the request

 was made.” Id. “In a ‘good cause’ analysis,” the Court “examine[s] the discovery request ‘on the

 entirety of the record to date and the reasonableness of the request in light of all the surrounding

 circumstances.’” Soileau v. GPS Marine, LLC, No. 20-484, 2020 U.S. Dist. LEXIS 87581, at *5

 (E.D. La. May 18, 2020). Each of these factors weighs in favor of discovery here.



 9
   The “good cause” test comports with the majority of district court cases in and outside the
 Fifth Circuit. See, e.g., Combat Zone Corp. v. John/Jane Does 1-2, Civ. No. 2:12-CV-00509,
 2012 U.S. Dist. LEXIS 180841 (E.D. Tex. Dec. 21, 2012) (collecting cases); Strike 3 Holdings,
 LLC v. Doe, No. 4:21-CV-243-SDJ (lead case), 2021 U.S. Dist. LEXIS 232195 (E.D. Tex. Dec.
 3, 2021); see also 8A CHARLES ALAN WRIGHT & ARTHUR R. MILLER, FEDERAL PRACTICE AND
 PROCEDURE § 2046.1 (3d ed. 2011) (“Although [Rule 26(d)] does not say so, it is implicit that
 some showing of good cause should be made to justify such an order, and courts presented with
 requests for immediate discovery have frequently treated the question whether to authorize early
 discovery as governed by a good cause standard.”).


                                                  14
Case 3:22-cv-01213-TAD-KDM Document 349-1 Filed 04/25/24 Page 15 of 28 PageID #:
                                  28954



            1. Breadth and Burden

        The requested discovery is relatively narrow – no depositions are sought – and will

 impose no substantial burden on the Platforms, because the Platforms have already done most of

 the work of document collection in response to congressional subpoenas. On February 15, 2023,

 the House of Representatives Judiciary Committee sent subpoenas to Alphabet and Meta (as well

 as Amazon, Apple, and Microsoft) requiring production of “documents and communications

 relating to the federal government’s reported collusion with Big Tech to suppress free speech.” 10

 On information and belief, most of the documents the Platforms produced in response to the

 2023 congressional subpoenas have not been made public. (Maturin Dec. at ¶ 8.) The Kennedy

 Plaintiffs’ discovery request here tracks the language of those subpoenas with updated date-

 ranges. As a result, the discovery requested here primarily asks the Platforms to produce

 documents they have already collected and otherwise prepared for production and to update

 those productions for an additional brief time period. 11

        Significantly, however, Plaintiffs seek up-to-date discovery – i.e., Plaintiffs ask for the

 Platforms’ communications with the Government, internal emails/texts and meeting notes up to

 the present day, which will be essential to show that Defendants’ conduct is ongoing and creates

 a continuing threat of further censorship going forward. As this Court is aware, the Missouri

 Plaintiffs’ subpoenas to the Defendants issued on or before July 19, 2022 (22-cv-01213, Doc.

 No. 37), and thus the Government’s response to those subpoenas is nearly two years old.

 10
   House of Representatives Judiciary Committee, Chairman Jim Jordan Subpoenas Big Tech
 Executives, Feb. 15, 2023, https://judiciary.house.gov/media/press-releases/chairman-jim-jordan-
 subpoenas-big-tech-executives; Maturin Dec. Ex. B (congressional letter-subpoena).
 11
   Plaintiffs’ [Proposed] Order grants the Platforms 30 days from the date of service to respond
 or object to the subpoenas; and 15-days thereafter to meet and confer, and present to this Court
 by joint statement any unresolved objections as to scope or redaction. The existing protective
 orders (22-cv-01213, Doc Nos. 117, 143) safeguard against any public release of the Platforms
 employees’ identifying information.


                                                  15
Case 3:22-cv-01213-TAD-KDM Document 349-1 Filed 04/25/24 Page 16 of 28 PageID #:
                                  28955



        Additionally, Plaintiffs seek an earlier start-date of January 1, 2019, for the discovery

 based on evidence that both Facebook and YouTube, in self-described “partnership” with the

 Centers for Disease Control and Prevention’s (“CDC”) “Vaccinate with Confidence” campaign,

 and the State Department’s implementation of President Obama’s Executive Order 13747 (the

 “Global Health Security Agenda”), 12 undertook a set of adverse actions against CHD’s pages and

 accounts, e.g., demonetization, warning labels, fact-checks, shadow-banning and content

 demotions beginning in May 2019. (Declaration of Mary S. Holland, dated April 24, 2024

 (“Holland Dec.”) at ¶¶ 3-6.) This evidence is relevant to show that, ab initio, the Platforms’

 censorship was a product of federal coercion, joint action or conspiracy, not of Meta’s

 independent motives or process.

            2. Purpose of Requested Discovery

        The purpose of this discovery request is simple: to obtain documents that are critical to

 this case and will remain critical no matter how the Supreme Court rules in Murthy. At present,

 the Plaintiffs in these actions – both the Kennedy Plaintiffs and the Missouri Plaintiffs – are

 playing with one hand tied behind their backs: Plaintiffs have one side of the crucial

 communications between the Defendants and the Platforms, but not the other and do not have the

 Platforms’ internal communications. Filling this gap in the record is critical to Plaintiffs’ case.

        A central issue—perhaps the central issue—in this action is whether the Government’s

 communications to the Platforms crossed the constitutional line turning Platform censorship into

 state action by, for example (1) coercing the Platforms, (2) engaging in joint activity with them,



 12
   Executive Order 13747 of November 4, 2016, Advancing the Global Health Security Agenda
 To Achieve a world Safe and Secure From Infectious Disease Threats, Presidential Documents,
 FEDERAL REGISTER, Vol. 81, No. 217, https://www.govinfo.gov/content/pkg/FR-2016-11-
 09/pdf/2016-27171.pdf; A partnership against global health threats, GLOBAL HEALTH
 SECURITY AGENDA, https://ghsagenda.org/.


                                                  16
Case 3:22-cv-01213-TAD-KDM Document 349-1 Filed 04/25/24 Page 17 of 28 PageID #:
                                  28956



 or (3) conspiring with them. While this Court has already found a likelihood of success on

 coercion and joint participation, “likely success” is an “obviously lower” standard than “actual

 success” on the merits. Netflix, Inc v. Babin, 88 F.4th 1080, 1096 (5th Cir. 2023). By far the best

 evidence to prove coercion, joint action, or conspiracy at trial will lie in the Platforms’ internal

 documents showing both what they said to the Government and what they said internally in

 reaction to the Government’s demands, showing for example their “willful participation” with

 Defendants to censor content in furtherance of their own commercial self-interests. See e.g.,

 Maturin Dec. Exh. C (Nick Clegg 13 July 22, 2021 internal email) (“our current course [] is a

 recipe for protracted and increasing acrimony…. Given the bigger fish we have to fry with the

 Administration — data flows etc — that doesn’t seem a great place for us.”) (emphasis

 supplied). 14 And, “Sheryl [Sandburg, Facebook COO] is keen that we continue to explore some


 13
   On information and belief, Nick Clegg, a former deputy Prime Minister of the U.K., was then
 employed as Facebook’s Head of Global Governance. (Maturin Dec. at ¶ 10.)
 14
    On July 21, 2021, the day before Mr. Clegg sounded his “bigger fish to fry” alarm within
 Meta, The Wall Street Journal had reported that “companies’ collection, processing and storage
 of data is raising a growing number of geopolitical questions for governments in the U.S. and
 elsewhere.” Specifically, a recent ruling from the European Court of Justice “created legal
 uncertainty for companies that share data across borders to provide cloud infrastructure,
 advertising and other services that drive billions of dollars in trade.” David Uberti, “EU-U.S.
 Data Privacy Talks Enter Second Year With No Timeline for Resolution,” The Wall Street
 Journal, July 21, 2021, available at https://www.wsj.com/articles/eu-u-s-data-privacy-talks-
 enter-second-year-with-no-timeline-for-resolution-11626859800 (emphasis supplied) (last
 accessed April 5, 2024). On March 25, 2022, President Biden announced a new Trans-Atlantic
 Data Privacy Framework with the European Commission to “enable the continued flow of data
 that underpins more than $1 trillion in cross-border commerce every year.” FACT SHEET:
 United States and European Commission Announce Trans-Atlantic Data Privacy Framework,
 THE WHITE HOUSE (Mar. 25, 2022), https://www.whitehouse.gov/briefing-room/statements-
 releases/2022/03/25/fact-sheet-united-states-and-european-commission-announce-trans-atlantic-
 data-privacy-framework/ (emphasis supplied). On October 7, 2022, President Biden signed an
 Executive Order to provide “greater legal certainty for companies using Standard Contractual
 Clauses and Binding Corporate Rules to transfer EU personal data to the United States.” FACT
 SHEET: President Biden Signs Executive Order to Implement the European Union-U.S. Data
 Privacy Framework, THE WHITE HOUSE (Oct. 7, 2022), https://www.whitehouse.gov/briefing-
 room/statements-releases/2022/10/07/fact-sheet-president-biden-signs-executive-order-to-


                                                   17
Case 3:22-cv-01213-TAD-KDM Document 349-1 Filed 04/25/24 Page 18 of 28 PageID #:
                                  28957



 moves that we can make to show that we are trying to be responsive to the WH.” (Maturin Dec.

 Exh. C) (Nick Clegg).

        The need for such discovery is made even more imperative by the Murthy appeal. For

 example, Defendants have argued strenuously in that appeal that the current record does not

 demonstrate coercion, and in so arguing they are aided by the fact that while the record contains

 copious emails written by Defendants to the Platforms, no document production ever took place

 showing what was said (either by Defendants or by the Platforms’ representatives) at their secret

 meetings with one another 15, or what Platform employees and officers said to one another about

 those communications, specifically about the level of pressure, threat, or coercion they felt as a

 result of the Government’s demands, or about the Platforms’ willful participation in furtherance

 of their own self-interests (“the bigger fish we have to fry with the Administration”). (Maturin

 Dec. Exh. C) (Nick Clegg). Snippets of such documents have, however, been publicly released,

 and they offer strong evidence that filling this gap in the record will furnish irrefutable proof that

 the Platforms acted in response to governmental coercion. For example, in documents released

 by Rep. Jim Jordan, one Facebook officer wrote another in a telling email, “Can someone

 quickly remind me why we were removing not demoting/labeling – claims that COVID is man-

 made before May?”, and received the following response: “Because we were under pressure




 implement-the-european-union-u-s-data-privacy-framework/; see also Sam Shechner, et al.,“U.S.
 Rewrites Digital Privacy Rules for Europeans to Keep Data Flowing,” The Wall Street Journal,
 Oct. 7, 2022, available at https://www.wsj.com/articles/u-s-rewrites-digital-privacy-rules-for-
 europeans-to-keep-data-flowing-11665151210 (last accessed April 18, 2024). These enormous
 “data flow”-related revenues were, presumably, the “bigger fish we have to fry” which led Mr.
 Clegg and Ms. Sanburg at Meta to explore ways to cooperate even more fully with the
 Government to censor Americans’ protected speech.
 15
    Facebook took copious notes of its secret phone calls with the White House and Office of
 Surgeon General during the Spring of 2021 – while Defendants, it turns out, conspicuously chose
 not to take any.


                                                   18
Case 3:22-cv-01213-TAD-KDM Document 349-1 Filed 04/25/24 Page 19 of 28 PageID #:
                                  28958



 from the administration and others to do more and it was part of the ‘more’ package … We

 shouldn't have done it.” (Maturin Dec. Exh. D [July 14, 2021 Nick Clegg email].)

         The same is true of joint action: irrefutable proof may be found—and perhaps can only be

 found—by supplementing the record with internal Platform documents.

         Moreover, as stated above, neither this Court nor the Fifth Circuit has so far found

 sufficient evidence of a state-action conspiracy in this case. Kennedy, 2024 U.S. Dist. LEXIS

 26751, at *25; cf. Missouri v. Biden, 83 F.4th at 392 n.20 (affirming findings of likely coercion

 and significant encouragement while passing “no judgment on any joint actor or conspiracy-

 based state action theory”). The limited release to date of the Platforms’ internal documents

 strongly suggests that these documents in toto also contain evidence of conspiracy, in at least

 three respects. 16

         First, currently-released Meta internal records suggest that both parties to the censorship

 enterprise took steps to conceal their roles from the public, and further, to keep the Federal

 Defendants from receiving or authoring incriminatory records. For example, in one telling

 internal email, Bryan Rice, Facebook’s product design head wrote to Nick Clegg, its public

 affairs supervisor, “We aren’t responding to Rob’s [Flaherty] questions over email.” (Maturin

 Dec. Exh. E [April 17, 2021 Meta internal email].). There is good cause to obtain Facebook’s

 internal call notes of all conversations it had, as well as emails and text messages, with the White



 16
   Meta’s records, subpoenaed by Congress and submitted in excerpts to the Fifth Circuit as part
 of the Missouri proceedings on appeal, include Meta’s “call notes” with the White House from
 March 26, April 5 and 14, and June 15, 2021, and with the Surgeon General’s Office on July 16,
 2021, as well as internal emails of various dates between March and July 2021. See Members of
 House of Representatives’ Amicus Brief in Missouri, Case No. 23-30445, Doc. No. 161 at 43-44,
 Index of Appendix, filed Aug. 7, 2023 (currently unavailable for download on PACER).
 According to Chairman Jim Jordan, these records were obtained only under threat of holding
 Meta’s CEO Mark Zuckerberg in contempt of Congress. (Maturin Dec. at ¶ 8.) The Kennedy
 Plaintiffs have access only to those documents which Rep. Jordan has publicly released.


                                                  19
Case 3:22-cv-01213-TAD-KDM Document 349-1 Filed 04/25/24 Page 20 of 28 PageID #:
                                  28959



 House or other Executive Branch officials concerning content-moderation from 2019 through

 2024, to show further evidence of mutual concealment, which is in turn evidence of conspiracy.

 “‘[A]cts of concealment done in furtherance of the main . . . objectives of the conspiracy’ are

 circumstantial evidence of the conspiracy’s existence.” United States v. Curtis, 635 F.3d 704,

 717 (5th Cir. 2011).

        Second, Meta’s internal records suggest that officers within the company understood that

 they were censoring constitutionally-protected speech, and intended to accomplish that illegal

 objective in exchange for other benefits to the company. For example, one Facebook officer

 wrote another, “What the WH appears to want us to remove ranges from humor to totally non-

 violating chatter about vaccines.” (Maturin Dec. Exh. F [Meta internal email, July 21, 2021 at

 2:13PM].) Further, as discussed supra, “…our current course — in effect explaining ourselves

 more fully, but not shifting on where we draw the lines or on the data we provide …is a recipe

 for protracted and increasing acrimony... Given the bigger fish we have to fry with the

 Administration — data flows etc. — that doesn’t seem a great place for us.” (Maturin Dec.

 Exh. C [Nick Clegg email, July 22, 2021 at 12:20AM].) “… This seems like a political battle

 that’s not fully grounded in facts, and it’s frustrating.” (Maturin Dec. Exh. G [Meta internal

 email, July 16, 2021at 8:14PM].) “…There are so many untested assumptions in what the

 administration is saying recently…not to mention how their definition of ‘misinfo’ is completely

 unclear… it also just seems like when the vaccination campaign isn’t going as hoped, it’s

 convenient for them to blame us.” (Maturin Dec. Exh. G [Meta internal email, July 16, 2021 at

 7:32PM].)




                                                 20
Case 3:22-cv-01213-TAD-KDM Document 349-1 Filed 04/25/24 Page 21 of 28 PageID #:
                                  28960



        Third, evidence exists that other senior corporate officers, including CEO’s Mark

 Zuckerberg (Meta), 17 Sundar Pichai (Google), Susan Wojcicki and Neal Mohan (YouTube)

 personally participated in, directed, approved or set in motion the Platforms’ decisions to “work

 with” federal actors, modify their algorithms, and censor government-targeted “misinformation,”

 with knowledge of its protected nature. Such evidence tends to show a conspiracy with federal

 actors at the highest levels of corporate responsibility. It also tends to vitiate any defense of

 independent motive.

        These internal emails – and, presumably there are many more like them to be found at

 Meta, and Google/YouTube – tend to show that the Platforms conspired with the White House

 and other Federal Defendants, out of commercial self-interest, with knowledge and intent to

 censor protected speech, and as a result, that they censored content far in excess of what their

 internal policies or algorithms otherwise would have led them to do. These records also support

 the finding this Court has already made that the Platforms’ modifications of their terms of

 service and algorithms were one of the means by which the Federal Defendants accomplished

 their censorship goals, and did not reflect “independent” motives or processes. See, e.g.,

 Missouri, 83 F.4th at 397; Kennedy, 2024 U.S. Dist. LEXIS 26751, at *14; Missouri, 2023 U.S.


 17
    Mark Zuckerberg, the most prominent among them, is Chairman, CEO and majority
 shareholder of Meta. While this Court has noted his statement that the threat of antitrust
 enforcement is an “existential threat,” and his communications with Dr. Fauci in March, 2020,
 asking for “coordination” on COVID-19 messaging, Missouri, 2023 U.S. Dist. LEXIS 114585, at
 ** 12, 69-70, this Court has not been informed of Zuckerberg’s personal billion-dollar stake in
 vaccine development through his Chan-Zuckerberg Initiative, or of the high priority he gave to
 Facebook’s partnership with the CDC, even before COVID-19, “to remove clear misinformation
 about health-related issues that could cause an imminent risk of harm.” See, e.g., Infectious
 Disease Initiative, CHAN ZUCKERBERG BIOHUB, https://www.czbiohub.org/projects/
 infectious-disease/ (last visited Aug. 15, 2020); The Chan Zuckerberg Biohub: Seeking to Cure
 All Diseases, BIOLEGEND BLOG, https://www.biolegend.com/ja-jp/blog/the-chan-zuckerberg-
 biohub-seeking-to-cure-all-diseases (last visited Aug. 15, 2020); AXIOS on HBO: Mark
 Zuckerberg on Misinformation [Video], HBO, https://www.youtube.com/watch?v=E5yyInwI7tw
 (last visited Nov. 12, 2020).


                                                   21
Case 3:22-cv-01213-TAD-KDM Document 349-1 Filed 04/25/24 Page 22 of 28 PageID #:
                                  28961



 Dist. LEXIS 114585, at *15 (alluding to the Platforms’ alterations of algorithms and policies in

 response to Government coercion or substantial encouragement). These terms of services and

 algorithms continue in effect to this day and serve as a fig leaf for ongoing state-action

 censorship. The Kennedy Plaintiffs are entitled to obtain the Platforms’ internal records to prove

 that a conspiracy was effectuated at the highest levels of government and corporate leadership.

        Proof of the existence of such a conspiracy would be of fundamental importance to this

 case. First, a showing of conspiracy would automatically trigger a state action finding even in the

 absence of proof of coercion or other forms of entwinement. Second, co-conspirators are jointly

 liable for the offenses any one of them commits. 18 Hence if such a conspiracy is proven,

 Plaintiffs may be entitled to injunctive relief directed at the Platforms as well as Defendants.

 Indeed, complete relief in this case may be available only through joinder of the Platforms under

 Rule 19 or 20, and proof of conspiracy would entitle Plaintiffs to seek such joinder. For this

 reason, good cause suffices for Plaintiffs to undertake this discovery at this time to inform and

 support potential motion practice afterwards should the conspiracy allegations be shown.

            3. Discovery Will Remain Critical No Matter How the Court Rules in Murthy

        The requested discovery will remain critical to this case no matter whether the Supreme

 Court affirms, dismisses, or remands in Murthy. If the Court affirms, both consolidated cases will

 become immediately triable, and initiating Platform discovery now will eliminate months of

 potential delay later. If instead the Murthy Court were to dismiss that case on standing grounds,



 18
    The Kennedy Plaintiffs in no way concede that the Platforms would be insulated from liability
 if they were found only to have been coerced or substantially encouraged to censor protected
 speech. Rather, that is the position which the Platforms have staked out for themselves,
 essentially conceding that they can be held liable in cases of “willful” participation. See, e.g.,
 Netchoice amicus brief in Murthy, 23-411, at 11-12, filed Dec. 21, 2023, available at:
 https://www.supremecourt.gov/DocketPDF/23/23-411/293958/20231221095300230_231219
 a%20AC%20Brief%20for%20efiling.pdf.


                                                  22
Case 3:22-cv-01213-TAD-KDM Document 349-1 Filed 04/25/24 Page 23 of 28 PageID #:
                                  28962



 Kennedy v. Biden will remain alive, and the requested discovery will remain critical, not only on

 the merits, but on the issue of standing itself.

         The Kennedy Plaintiffs’ standing is stronger than, and rests on a different footing from,

 that of the Missouri Plaintiffs. In addition to being individually censored, the Kennedy Plaintiffs

 allege the violation of the First Amendment right to listen, and to receive information, held by

 social media users all over the country. Unlike a claim of individual censorship, the

 Government’s violation of social media users’ right to receive information does not depend on

 proof that any particular speaker is likely to be censored in future. It does, however, depend on a

 showing of continuing efforts by Defendants to induce social media censorship of protected

 speech. Thus if the Supreme Court finds no standing in Murthy, the requested discovery – by

 disclosing up-to-date and ongoing communications between Defendants and the Platforms – will

 be highly relevant to standing in Kennedy v. Biden, because it will be germane to Plaintiffs’

 showing of a continuing threat of First Amendment injury.

         Moreover, CHD continues to suffer concrete and serious First Amendment injury in the

 form of permanent cancellation of its social media pages and accounts on Alphabet, Inc. and

 Meta Platforms, Inc. products since August 2021. (Holland Dec. at ¶¶ 7-12.) Mr. Kennedy also

 suffers ongoing online speech injury in the form of censorship, shadowbanning, or content

 demotion of his campaign posts and website. (Robert F. Kennedy, Jr. Testimony Before House

 Select Subcommittee on the Weaponization of the Federal Government, July 20, 2023,

 https://www.congress.gov/118/meeting/house/116258/witnesses/HHRG-118-FD00-Wstate-

 KennedyR- 20230720.pdf) (discussing Meta’s removal of his accounts in February and July,

 2021, and YouTube’s removal of his speech, campaign announcement, and interview in March,

 May and June, 2023); see also, e.g., Gabriela Pariseau and Michael Morris, “Google Revs Up




                                                    23
Case 3:22-cv-01213-TAD-KDM Document 349-1 Filed 04/25/24 Page 24 of 28 PageID #:
                                  28963



 Election Interference Gambit Before GOP Primary Debate, Buries Republicans” Media Research

 Center Free Speech America, Aug. 24, 2023, available at: https://www.newsbusters.org/blogs/

 free-speech/gabriela-pariseau/2023/08/24/google-revs-election-interference-gambit-gop-primary

 (reporting that searches on Google on Aug. 22, 2024, for the phrase “presidential campaign

 websites” did not return Mr. Kennedy or his campaign website among the search results, even

 though he was actively campaigning at that time). There can be no more serious First

 Amendment issue than censorship of one campaign by the incumbent as the Nation approaches

 the November 5, 2024 election.

        Finally, if the Supreme Court reverses and remands Murthy on the ground that a

 likelihood of success on coercion claim has not been shown, then the requested discovery will be

 even more obviously pivotal, because it could provide the proof of coercion that the Court deems

 lacking. In addition, the requested discovery also could provide proof of joint action and/or proof

 of conspiracy, either of which would suffice to show state action – and acquiring that discovery

 now will spare all parties months of potential delay if discovery is postponed until after the

 Supreme Court resolves Murthy.

        Similarly, the Defendants’ filing of a notice of appeal to the Fifth Circuit of the Kennedy

 preliminary injunction, 2024 U.S. Dist. LEXIS 26751, in no way divests this Court of

 jurisdiction to move forward with this case on other fronts as, for example, by granting this

 discovery request, while that appeal is pending. See, e.g., Satanic Temple, Inc. v. Tex. Health &

 Hum. Serv. Comm’n, 79 F.4th at 514. The Defendants will shortly move to hold their appeal in

 abeyance pending the Supreme Court’s disposition of Murthy, and they have confirmed through

 counsel that their abeyance motion is limited to the appeal, not to further proceedings in this

 Court. (Maturin Dec. at ¶ 11.)




                                                  24
Case 3:22-cv-01213-TAD-KDM Document 349-1 Filed 04/25/24 Page 25 of 28 PageID #:
                                  28964



        In sum, the requested discovery is narrow in scope and fills a crucial gap in the existing

 record. It will impose no burden whatsoever on any party to this case because it is directed

 solely at third parties, and it is will impose no substantial burden on the Platforms because it

 tracks the congressional subpoenas to which the Platforms have already responded. Moreover,

 the requested discovery will remain critical here no matter how the Supreme Court rules in

 Murthy, and granting discovery now will avoid potentially lengthy delays later. The Kennedy

 Plaintiffs are bound by this Court’s protective orders, 22-cv-01213, Doc Nos. 117, 143, and

 cognizant of their reciprocal obligation to share discovery with the Missouri Plaintiffs. See

 Missouri, 2023 U.S. Dist. LEXIS 127620, at *5-6 (consolidation order). Thus the request is

 reasonable in light of all the circumstances and the record as a whole.

                                          CONCLUSION

        For all these reasons, the Kennedy Plaintiffs respectfully request an Order finding good

 cause for leave to serve document subpoenas on the record custodians of Alphabet, Inc. and Meta

 Platforms, Inc. for internal meeting notes, memoranda, and emails/texts, and external

 communications with federal officials concerning censorship of protected content from January 1,

 2019 through the date of service of such subpoenas.




                                                  25
Case 3:22-cv-01213-TAD-KDM Document 349-1 Filed 04/25/24 Page 26 of 28 PageID #:
                                  28965



 Dated: April 25, 2024                      Respectfully submitted,

                                            /s/ G. Shelly Maturin, II
                                            ___________________________
                                            G. SHELLY MATURIN, II
                                            (La. Bar#26994)
                                            Welborn & Hargett
                                            1540 W. Pinhook Road
                                            Lafayette, LA 70503
                                            Telephone: 337-234-5533
                                            E-mail: shelly@wandhlawfirm.com

                                            Attorney for ROBERT F. KENNEDY, JR.
                                            CHILDREN’S HEALTH DEFENSE
                                            CONNIE SOMPAGNARO
                                            Plaintiffs in Kennedy v. Biden,
                                            No. 3:23-cv-00381

 JED RUBENFELD                              ROGER IAN TEICH
 (NY Bar # 2214104)                         (CA Bar #147076)
 (pro hac vice forthcoming)                 (pro hac vice forthcoming)
 1031 Forest Road                           337 Liberty Street
 New Haven CT 06515                         San Francisco, CA 94114
 Telephone: 203-432-7631                    Telephone: 415-948-0045
 E-mail: jed.rubenfeld@yale.edu             Email: rteich@juno.com




                                       26
Case 3:22-cv-01213-TAD-KDM Document 349-1 Filed 04/25/24 Page 27 of 28 PageID #:
                                  28966



                              CERTIFICATE OF COMPLIANCE

        This is to certify that prior to filing this motion, counsel attempted to obtain consent for

 the filing and granting of such motion from all parties having an interest to oppose, but none of

 the other parties in these consolidated cases would so consent. The Missouri Plaintiffs take no

 position on the request.

 Dated: April 25, 2024


                                               /s/ G. Shelly Maturin, II
                                               ______________________________________
                                               G. SHELLY MATURIN, II




                                                  27
Case 3:22-cv-01213-TAD-KDM Document 349-1 Filed 04/25/24 Page 28 of 28 PageID #:
                                  28967



                                 CERTIFICATE OF SERVICE

        This is to certify that a copy of the above and foregoing has been served on all known

 counsel of record via facsimile transmission, e-mail and/or by placing same in the U.S. Mail,

 properly addressed and postage pre-paid on this 24th day of April, 2024.




                                              /s/ G. Shelly Maturin, II
                                              ______________________________________
                                              G. SHELLY MATURIN, II




                                                28
